Case 1:17-cr-00556-ER Document 75 Filed 03/01/23 Page 1 of 9
Case 1:17-cr-00556-ER Document 75 Filed 03/01/23 Page 2 of 9
Case 1:17-cr-00556-ER Document 75 Filed 03/01/23 Page 3 of 9
Case 1:17-cr-00556-ER Document 75 Filed 03/01/23 Page 4 of 9
Case 1:17-cr-00556-ER Document 75 Filed 03/01/23 Page 5 of 9
Case 1:17-cr-00556-ER Document 75 Filed 03/01/23 Page 6 of 9
Case 1:17-cr-00556-ER Document 75 Filed 03/01/23 Page 7 of 9
Case 1:17-cr-00556-ER Document 75 Filed 03/01/23 Page 8 of 9
Case 1:17-cr-00556-ER Document 75 Filed 03/01/23 Page 9 of 9




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